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                                                                            ■S. DiSTRlC I COURT
                                                                       ' ;■ ■ n
                                                                              >’ICT OF NEW HAMPSHIRE
                                     ORIGINAL
                                                                              Dec 2 2 2022
                      UNITED STA'FES DISTRICT COUR'F FOR THE
                           DISTRICT OF NEW HAMPSHIRE



United States oF America

      V.                                          Criminal No. 21-cr-41-JL

Ian Freeman




                                    VEROICT FORM

1.    With regard to the crime described in count one of the indictment ("Operation of
      Unlicensed Money Transmitting Business”), we, the jury, find the deibndant:




                                     (Not Gunty/Guilty)

      (Proceed to question 2.)


2.    With regard to the crime described in count two of the indictment ("Conspiracy to
      Operate Unlicensed Money Transmitting Business”), we, thejuty, find the defendant:




                                     (Not Guilty/Guilty)

      (Proceed to question 3.)


3.    With regard to the crime described in count three of the indictment ("Money
      Laundering”), we, the jury, End the defendant:


                                      Ft/   1

                                     (Not Guilty/Guilty)

      (Proceed to question 4.)
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4.   With regard to the crime described in count four of the indictment ("‘Conspiracy to
     Commit Money Laundering''), we, the jury, find the defendant:


                                    tfvicr/
                                    (Not Guilty/Guilty)

     (Proceed to question 5.)


5.   With regard to the crime described in count five of the indictment (“Attempt to Evade or
     Defeat Tax in 2016”), we, the jury, find the defendant:




                                    (Not Guilty/Guilty)

     (Proceed to question 6.)


6.   With regard to the crime described in count six of the indictment(“Attempt to Evade or
     Defeat Tax in 2017”), we,the jury, find the defendant:



                                    (ruiurV
                                    (Not Guiliy/Guilty)

     (Proceed to question 7.)


7.   With regard to the crime described in count seven of the indictment(“Attempt to Evade
     or Defeat Tax in 2018”), we,the jury, find the defendant:



                                     6^uiuty
                                    (Not Guilty/Guilty)

     (Proceed to question 8.)


8.   With regard to the crime described in count eight of the indictment(“Attempt to Evade or
     Defeat Tax in 2019”), we, the jury, find the defendant:


                                     (tdiutY
                                    (Not Guilty/Guilty)
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(Conclude your deliberations.)


                                        /s/ Foreperson
                                     Foreperson




                                     Date
